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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
              v.                              )
                                              )
RICHARD W. GATES III,                         )           Crim. No. 17-201-2 (ABJ)
                                              )
              Defendant.                      )


                                          ORDER

       Upon consideration of Defendant Richard W. Gates III’s counsel’s Motion for Leave to

Withdraw as Counsel of Record, it is this ___ day of February, 2018, hereby

       ORDERED, that the motion is GRANTED.




                                            _______________________________________
                                            AMY BERMAN JACKSON
                                            UNITED STATES DISTRICT JUDGE
